       Case 24-03238 Document 1-5 Filed in TXSB on 11/18/24 Page 1 of 18
                                                                              EXHIBIT 5




The Onion’s Most Trenchant Headline
The satirical site’s announcement that it is acquiring Alex Jones’s Infowars created
confusion—and perfectly captured the media world we’re living in.
By Megan Garber




Illustration by The Atlantic
NOVEMBER 15, 2024, 12:31 PM ET

This week, Americans learned that a Fox News personality could become the civilian head
of the nation’s armed forces. They heard about a new government-adjacent agency that will
be co-headed by Elon Musk and named the Department of Government EWiciency (or
… DOGE). The headlines, occasioned by Donald Trump’s imminent return to the White
House, were new reasons to ask an old question inspired by a classic satirical website: The
Onion or real? (The answer: extremely real.) But yesterday morning, reality got an even
more Onion-y twist, this time courtesy of the publication itself. The Onion announced that
its parent company was the winning bidder in a bankruptcy auction to acquire Infowars. That
infamous site—the longtime home of the conspiracist Alex Jones, and a bleak metonym for
an age of irony poisoning and reckless lies—will now operate under the auspices of a site
whose homepage, as of this writing, was reporting: “Oyster Cracker–Wise, Nation Doing
Pretty Good.”

Headlines are The Onion’s stock-in-trade. The site’s articles complete the “fake newspaper”
aesthetic but are, for the most part, beside the point. Yesterday’s news followed that form.
As a headline—“The Onion Buys Infowars”—the acquisition brought amusement (reactions
included “metal,” “poetry,” and applause emoji). As a broader story, though, it brought a


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       Case 24-03238 Document 1-5 Filed in TXSB on 11/18/24 Page 2 of 18
                                                                                   EXHIBIT 5


familiar kind of addlement: Was this news-news or “fake news”? Was it a prank? (If so, who
was the butt of the joke?) “I can’t tell if this is real or satire,” one commenter said on
Instagram, speaking for many.

The uncertainty made its way into coverage of the acquisition as well. Several journalistic
outlets, reporting on the purchase, attributed a press release to “Bryce P. Tetraeder, CEO of
the Onion’s parent company Global Tetrahedron”—apparently not realizing that the
executive’s name was, itself, an attempt at satire. (The Onion has a tradition of assigning fake
names to its leadership; this particular leader’s bio describes him, in part, as “media
proprietor, entrepreneur, human traWicker, thought leader, and venture capitalist.”)

But the confusion was, in its topsy-turvy way, clarifying. “The Onion or real?” is a lighthearted
question that has also become a way of life. We muddle, all of us, through a fog of ambient
uncertainty. And this, in turn, gives way to suspicion. Question everything, that
quintessential cry of the conspiracist, has also become a stark tenet of news literacy. In a
media environment where fact and ﬁction blur, ever more steadily, into each other—where
so many pieces of news are punctuated with invisible asterisks and scare quotes and
question marks—doubt is written into the texture of things: Real person or bot? Real footage
or deepfake? News-news or “news”? The lulz-to-life pipeline has never been shorter.

The result is not merely a White House that treats politics as an endless ﬂame war—a
government of the meme, by the meme, for the meme. The uncertainty also encourages,
among the people who live within it, a particular strain of cynicism, the kind that can settle
in when, to paraphrase the scholar Hannah Arendt, everything is possible and nothing is true.

The Infowars acquisition is an everything/nothing proposition: Is the purchase satirical or
earnest? Was it made in good faith or bad? Is it a troll or a remedy? It is neither. It is both.
“We thought this would be a hilarious joke,” Ben Collins, the (real) chief executive of Global
Tetrahedron, told The New York Times of the decision to buy Jones’s site. And the whole
thing—down to the (satirical) press release calling Infowars “a cornucopia of malleable
assets and minds”—is, very openly, a stunt. But it is also, the publication insists, a strategy.
Its comedy will be corrective, and potentially lucrative. Infowars will relaunch in January,
Collins told the Times, as a ClickHole-style parody of Jones and his fellow conspiracists. In
all those ways, the acquisition is also something of a concession: the martial logic of “own
the libs,” upended through literal ownership.

The best satire will spin, always, around an axis of earnestness; its humor will make a serious
point. One of The Onion’s most famous headlines—one that reliably goes viral after a new
episode of mass gun violence—did precisely that: “‘No Way to Prevent This,’ Says Only
Nation Where This Regularly Happens.” The updated Infowars could engage in that sort of
satire too, making it a ﬁtting addition to The Onion’s satiric universe. (The Onion mocks
legacy media; ClickHole, started by The Onion and now owned by the team behind the
game-design ﬁrm Cards Against Humanity, mocks new media; Infowars, it seems, will mock
the people peddling media that mock the truth.) The Onion’s goal, the


                                               2
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       Case 24-03238 Document 1-5 Filed in TXSB on 11/18/24 Page 3 of 18
                                                                                   EXHIBIT 5


publication asserted in a statement yesterday, “is to end Infowars’ relentless barrage of
disinformation for the sake of selling supplements and replace it with The Onion’s relentless
barrage of humor for good.”

But even that humor will be rooted in the rawest form of earnestness: grief. The acquisition
was supported by families of the children murdered in Sandy Hook, Connecticut, in 2012—
families burdened, in their anguish, by Jones’s baseless insistence that the whole massacre
had been staged. The new site, in addition to publishing parody, will also attempt to educate
its audience about the human cost of guns. It will feature advertising from the nonproﬁt
advocacy organization Everytown for Gun Safety. Everytown’s president, John
Feinblatt, described “the potential this new venture has to help Everytown reach new
audiences ready to hold the gun industry accountable.” The sale itself, one of the families’
lawyers said in a statement, is a form of accountability as well—for the man who, for so
long, proﬁted from their pain.

This is not a typical case of tragedy followed by farce; it is, in Infowars’ new owners’ telling,
tragedy adjudicated by farce. But “laughter” and “murdered children” sit uncomfortably with
each other. And The Onion’s public messaging has suggested that the purchase, in
classic Onion fashion, is still a headline in search of a story. What will Infowars’ parody look
like? Will the site attempt to coax its current audience away from Jones’s conspiracies? Or
will it simply mock its readers? In a social-media post yesterday morning, Collins clariﬁed
that the sale has given The Onion ownership of all of Infowars’ assets, including the site’s
content, its broadcasting equipment, Jones’s supplements business, and the intellectual
property related to those supplements. He added: “We are still trying to ﬁgure out what to do
with it.” The earnest comment was an adjunct to the ﬁnal lines of the press releasefrom
“Bryce P. Tetraeder”: “All will be revealed in due time. For now, let’s enjoy this win and toast
to the continued consolidation of power and capital.”

Cynicism is typically seen as an absence of earnestness—as a posture that places itself, on
the irony continuum, somewhere near sarcasm and suspicion. It can be that, deﬁnitely. But
it can also be, as Arendt observed, a form of earnestness gone awry, a means of coping with
a world in which so many things refuse to mean what they claim to. Cynicism, in her
framework, is a way to protect the ego in an atmosphere of widespread mistrust. Of the
people who lived among endless propaganda, Arendt wrote: “Instead of deserting the
leaders who had lied to them, they would protest that they had known all along that the
statement was a lie and would admire the leaders for their superior tactical cleverness.”

Arendt was writing about life under totalitarianism in a century now long past. But her
ﬁndings are all too timely. Cynicism as she describes it—as sanctuary, as armor, as an
outgrowth of despair—is a core feature of life on the web. It will probably become ever more
common as the real stories look ever more like satire. Cynicism, as Arendt framed it, can
also be a form of complicity. It inures people to the ﬁctions that surround them. It makes
them apathetic, compliant, subdued. But cynicism is also, according to Arendt, a
reasonable reaction to an unsteady world. Humans don’t do well with uncertainty. For all the


                                               3
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       Case 24-03238 Document 1-5 Filed in TXSB on 11/18/24 Page 4 of 18
                                                                                 EXHIBIT 5


concessions it demands, the cynical style has one very obvious beneﬁt: It provides an
illusion of control. It imposes order, or at least the semblance of it, on a tumultuous world.
(In that way, it turns out, it is very much like a conspiracy theory.)

Satire can do similar work. It can be an eloquent antidote to the kind of chaos that Arendt
described: It can cut through the haze. It can clarify things, joke by joke. The earnestness of
humor is, it seems, what The Onion hopes to bring to the site that turned suspicion into
currency. The Infowars acquisition, Collins told the Times, “is going to be our answer to this
no-guardrails world where there are no gatekeepers and everything’s kind of insane.” The
irony is that the purchase—as a joke, as justice—may further erode the guardrails. The
“answer” meant to address all the madness may be new, but it will provoke the same old
question: “The Onion or real?”

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                                                          Onion CEO discusses lnfowars
                                                        purchase and plans for site's future




     The Onion CEO on buying lnfoWars: 'This is a really funny moment'




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  By ABC NEWS  Document 1-5 Filed in TXSB on 11/18/24 Page 6 of 18
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  November 15,2024,3:02 PM




  Satirical website The Onion purchased Alex Jones' site lnfoWars on Thursday,



  For years, Jones exemplified far-right anger and sensationalism. lnfowars began as a
  website and a public access TV program before transitioning to livestreams. It focused
  on far-right conspiracy theories and was primarily funded by advertisements for dietary
  supplements and alternative medicine.



  After the tragic 2012 shooting at Sandy Hook Elementary School, which claimed the lives
  of 20 first-graders and six adults, Jones shocked and devastated the nation by claiming
  that this massacre was actually a hoax. He alleged, without any evidence, that
  lawmakers were involved, the Oba mas were complicit, and even that the parents of the
  victims were in on it.



 After years of insisting that he retract his false statements, the parents finally sued him
  for defamation. In court, they spoke about the impact that Jones' lies had on their lives.
  The parents won more than $1billion in damages, stating that this was the only way to
  put an end to his actions.




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   he created. On Thursday, The Onion, the satirical newspaper and website famous for its
   humor, acquired the site with the approval of the Sandy Hook parents. It also won the
   applause of gun control advocacy group Everytown for Gun Safety, which will have an
   exclusive advertising deal with the site.




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   The Onion CEO on buying lnfoWors: 'This is o reolly funny moment'
   Mario Tama/Getty Images




   ABC News' "Start Here" podcast host Brad Mielke spoke with Ben Collins, CEO of The
   Onion, and John Feinblatt, president of Everytown for Gun Safety, about the future of
   lnfowars.




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                                                      CEO of The Onion,
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                                                                         18 John
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   Feinblatt, the president of Everytown. Ben, you bought lnfowars. Why?



   COLLINS: Because it would be very funny. I think we all agree this is really funny. Don't
   you agree this is really funny? I think this is the funniest thing in the world. I think when
   we, you know, when we initially thought about it in June, when we read in the
   newspaper that it was for sale, we all had the same reaction it'd be like, it'd be really
   funny if The Onion bought it. And then we really thought about it like, but actually, how
   could we do this?



   And I, from a previous life, I used to be a disinformation reporter. I knew the Sandy Hook
   family's lawyers. And I gave them a ring. I was like, what does this look like? Is this really
   for sale? And all this stuff. And, you know, over the next few months, it became real. And
   we started talking to Everytown about this. Everytown was founded after Sandy Hook
   happened. And we wanted a good launch partner for this that made sense, and this is
   obviously the thing that makes the most sense.



   Then we started talking to like Onion Hall of Famers, like the Hall of Fame comedy
   writers that have come through the halls of The Onion over the last few years. And when
   you NOA them and tell them this is happening, they get pretty excited.




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   whole world that we're excited to show
   everybody in a couple of months. But, you
   know, first just bathe in this, this is a really
   funny moment. You're allowed to laugh at it. I
   hope, when you, I hope if you got a push
   alert or something -- or if this is the first time       Here Are 29 of the Coolest
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   happen, I hope you, hope you laughed really
   hard because it's a funny moment.



   STARTHERE;John, what was your reactionwhen The Onion came to you guys with this
   idea?



   FEINBLATT:Well, I think most people would think at first blush, sort of strange
   bedfellows, but we thought the opposite. For years, The Onion has been really
   highlighting the crisis of gun violence in America. And obviously, that's what we've been
   doing. And we thought that was perfect synergy here. You know, at our fingertips, we've
   got facts and we've got stories and we've got research, but they've got the creativity to
   really cut through misinformation and to reach new audiences.



   STARTHERE; I was going to say, The Onion has always been, every time there's a big
   mass shooting, The Onion has this famous headline of "No way to prevent this, says the
   only country where this regularly happens."



   FEINBLATT:Without a doubt. And we've known them and admired them for years. And
   what we know is that when you've got hate-filled misiinformation, humor is sometimes
   the way to really get a reset and to really shine a spotllight on the fact that
   misinformation is really fueling irrational thinking.




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Case 24-03238 Document 1-5 Filed in TXSB on 11/18/24 Page 10 of 18
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   STARTHERE:Ben, how will this actually work? Because is it just the website? Like Alex
   Jones had a number of platforms that were part of the company that was, is lnfowars.
   Right? So what do you guys acquire and what do you do with it?



   COLLINS: Yeah, we acquire everything. In fact, we acquire all of his broadcasting
   equipment. We acquire his whole supplement empire, which we are at this moment still
   trying to figure out what to do with.



   STARTHERE:Wait like literally? Wait like, are there like pills in boxes somewhere?



   COLLINS: There are pills in boxes somewhere. We don't even know where they are, but
   we are trying to figure that out right now. And like, that's the thing here, is that we -- it
   was important to the families is that we really try to take him off the air for a couple of
   days and see what happens. And that's important to us, too.



   Like, we want to be able to wipe the slate clean with this thing and, you know, in a
   couple of years what we want to be able to say is if you think of lnfowars, you really
   think of this hilarious joke that we pulled off or, you know, even better that we've built
   something on top of it that's big and flourishing and crazy and is the funniest website
   that you know.




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Case 24-03238 Document 1-5 Filed in TXSB on 11/18/24 Page 11 of 18
                                                                   EXHIBIT
    STARTHERE:Wait that's my question, is it like, does a website supplant     5 or and
                                                                           it now
    like, what does that actually look like?



    COLLINS: Yeah, we will take over- lnfowars.com I believe right now is down and we will
    take that over once that is transferred over to us. And then we'll start building a whole
    new world there.



    STARTHERE: Sorry, I just want to be clear though. What does that mean? Like a whole
    new world? Is it like The Onion now also has a different domain that's called lnfowars.
    Or is it a totally different thing?



    COLLINS: Yeah. No, we're building a whole new website with, you know, our own -- so
    basically what we want to do is there is a sub economy of alt media people who've
    gone, you know, unmocked for too long. And we, those people, we call them alt media.
    It kind of like took over everything like quietly, you know, the podcast people selling you
    supplements, the people getting yo,u addicted to fear and anger and all that stuff.



    And it's not just Alex Jones types. It's all sorts of weird guys that you see on your TikTok
    and lnstagram feeds. We're going to create a world where that is, you know,
    appropriately -- the appropriate amount -- ritually mocked.




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   Jones visited on the Sandy Hook families, the fact that Everytown and The Onion are
   painting a new chapter, there's no other way to describe this than poetic justice. It's
   almost karmic justice.



   START HERE: How much did you guys pay for it?



   COLLINS: $1.1trillion.



   START HERE: I don't think that's true. I think that is parody.



   COLLINS: No, it's look, it's, I agree with you. It's a small price to pay, but we decided that,
   look, in our vast empire of puppy mills and other things that Global Tetrahedron funds ...



   START HERE:Just to be clear with our listeners, that is the parent company you set up
   with the same name as the The Onion's -- fictional corporate overlords, your company
   does not do all those things.



   COLLINS: Um, that's, that's up for you to decide first of all. Second of all, yeah, it's just,
   you know, it's a small price to pay for, for a good, public good.




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    are not going to tell me how much you actually paid for this. I guess the thing I want to
    get at is, is this an expensive way to troll people? ls it a way for the Onion to effectively
    donate money to Everytown? Because I know Everytown is going to have an exclusive
    advertising deal with you guys.



    Or is this something, is this like a way to have an impact on the conversation around
    conspiracy theorists? Does this last beyond that push alert that you just mentioned
    that made people laugh?



    COLLINS: Oh yeah, absolutely. Like our goal is to make this a, like I keep saying a whole
    universe, a whole new universe for people to understand. And I just want to make it
    clear, the money goes to the families. The families are owed $1 billion from Alex Jones.
    All of this money will go -- for the sale of lnfowars -- it goes directly to the families. And
    we are going to make something better.



    We're going to pay this over and give some people a good place on the internet to go to
    because that's very rare now. That's a big part of why we want to do this. We want, the
    media ecosystem is just filled with like lies and hate and garbage, and we want to give
    people a place to at least laugh at it.



    STARTHERE:John, does this take Alex Jones out of the equation entirely? He's already
    responded to this, saying that this is all "rigged," that "lnfowars is stronger than ever,"
    that his empire is stronger than ever. What's your response?




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Case 24-03238 Document 1-5 Filed in TXSB on 11/18/24 Page 14 of 18
                                                                     EXHIBIT
   FEINBLATT:We're putting Alex Jones in the rearview mirror. We're painting    5
                                                                             a new
   chapter and we're going to reach new audiences.



   And I think that's what's most important here for both Everytown and for The Onion to
   talk about this in yes, in a humorous way, but to really expose the damage
   misinformation does and talk to people that are beyond just talking to ourselves. Talking
   to conservative people, talking to young people and reaching them and really, really
   exposing how misinformation distorts reality.



   STARTHERE:That's the thing, because I keep wondering if, like, I doubt the average
   lnfowars listener or consumer sticks around and goes like, oh, I got to check out this
   website or this Twitter account or whatever it is. You're saying, you're not assuming
   you'll get those people tuning in every day, but you do think you'll reach what, regular
   people at some point?



   FEINBLATT:I think we will reach all Americans and probably some of the people who
   have been following lnfowars because, look, when it comes to gun safety, we know
   where the American public stands, but we also know the damage that Alex Jones has
   visited -- not just on the Sandy Hook families -- but on on people all across the country
   in thinking about it. His currency is fear. And we're ending that chapter.



   STARTHERE:All right. Ben Collins, John Feinblatt, thank you both so much.




                                                                                 14
Case 24-03238 Document 1-5 Filed in TXSB on 11/18/24 Page 15 of 18
                                                            EXHIBIT 5




                                                                     15
      Case 24-03238 Document 1-5 Filed in TXSB on 11/18/24 Page 16 of 18
                                                                                    EXHIBIT 5


By Al Jazeera Sta+
Published On 14 Nov 202414 Nov 2024
In this case, it’s not satire.
InfoWars, the website of conspiracy theorist Alex Jones, has been purchased by The Onion
– a parody outlet – putting an end to the controversial platform that drummed up anti-
government paranoia in the United States for a quarter of a century.

The auction sale on Thursday came as the result of a 2022 ruling that found Jones liable for
nearly $1.5bn in damages for defaming the families of the victims of a mass shooting at an
elementary school in Newtown, Connecticut, by calling the attack a hoax.

The 2012 shooting at Sandy Hook claimed the lives of 20 children and six educators, but
Jones falsely claimed that the incident did not happen, arguing that the victims and
survivors were crisis actors.

The Onion CEO Ben Collins conﬁrmed the sale on Thursday, saying that it took place with
the backing of Sandy Hook families.

“The Onion is proud to acquire InfoWars, and we look forward to continuing its storied
tradition of scaring the site’s users with lies until they fork over their cold, hard cash,”


He added that he hopes that the families of the Sandy Hook shooting victims will ﬁnd joy in
the “cosmic joke” that The Onion now owns InfoWars.

The Onion
The Onion is a parody website that publishes satirical news stories that often present a
caricature of politicians and current events.

But with US and international politics taking strange turns in recent years, some Onion
headlines have come close to describing actual news.

The ﬁctitious CEO of Global Tetrahedron LLC, The Onion’s parent company, called InfoWars
an “invaluable tool for brainwashing and controlling the masses”.


“Through it all, InfoWars has shown an unswerving commitment to manufacturing anger
and radicalizing the most vulnerable members of society – values that resonate deeply with
all of us at Global Tetrahedron,” a satirical statement, attributed to Bryce P Tetraeder, said.
“No price would be too high for such a cornucopia of malleable assets and minds.”
On a more serious note, the advocacy group Everytown for Gun Safety announced that it
will be an exclusive advertiser on InfoWars when it relaunches in its new format.




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      Case 24-03238 Document 1-5 Filed in TXSB on 11/18/24 Page 17 of 18
                                                                                  EXHIBIT 5


“It’s ﬁtting that a platform once used to proﬁt oZ of tragedy will be a tool of education,
hence our multi-year advertising commitment to this new venture,” John Feinblatt,
president of Everytown for Gun Safety, said in a statement.

“We’re proud to be a part of what comes next, not only in terms of staunching the ﬂow of
hurtful misinformation, but also for the potential this new venture has to help Everytown
reach new audiences.”

The home page of InfoWars currently features a short statement that reads: “Site
unavailable till further notice.”

The US has been suZering from rampant gun violence amid lax regulations on the purchase
and carrying of ﬁrearms.

According to the tracker Gun Violence Archive, 18,854 people were killed in US shootings
last year.

The Second Amendment of the US Constitution grants the right to bear arms. Democrats
usually advocate tighter control of weapons, but Republicans largely view gun ownership
as a fundamental right.

That’s why Jones and other right-wing conspiracy theorists have questioned mass
shootings in the country.

The Sandy Hook families have been pushing to hold Jones accountable for the falsehoods
he has spread about them.

Since the 2022 ruling in their favour, the families have been engaged in an ongoing legal
ﬁght over the collection of the damages and the fate of Jones’s assets, including InfoWars.
Chris Mattei, a lawyer for the Connecticut plaintiZs, welcomed the purchase of InfoWars by
The Onion, calling it a “public service” that will diminish Jones’s reach.

“From day one, these families have fought against all odds to bring true accountability to
Alex Jones and his corrupt business,” Mattei said in a statement.

“Our clients knew that true accountability meant an end to Infowars and an end to Jones’s
ability to spread lies, pain and fear at scale.”

Jones deﬁant
For his part, Jones – deﬁant as ever – pledged to continue broadcasting and ﬁghting to keep
the website, saying that he would seek a court injunction to block the sale.
I
t is unclear how much The Onion paid for InfoWars and whether the families will receive the
funds and how.



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      Case 24-03238 Document 1-5 Filed in TXSB on 11/18/24 Page 18 of 18
                                                                               EXHIBIT 5


“This is the tyranny of the new world order – desperate to silence the American people,”
Jones said in a video posted on X, decrying the sale of his website as an attack on free
speech.
Play Video

While the First Amendment of the US Constitution protects free speech, there are state and
federal US laws that prohibit defamation based on falsehoods.

Jones had amassed millions of viewers with his bombastic style and alarmist warnings
about plots by “the globalists” to destroy America.

He moved from the fringes of the media landscape as he grew his audience and he has
conducted interviews with mainstream right-wing politicians, including then-
candidate Donald Trump in 2015.

The Southern Poverty Law Center, which tracks hate groups, describes Jones as “one of the
most proliﬁc and inﬂuential conspiracy theorists in contemporary America”.

“With millions of regular viewers and over two decades on the air, Jones has created a
ﬁnancial and brand empire out of selling misinformation and disinformation, as well as
self-help dietary products,” the group says in a report on Jones.

“His uncorroborated reporting has led to many innocent people being harassed by internet
trolls both online and in person.”




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